                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

DAREL ADELSBERGER                                                  PLAINTIFFS
AND ANNETTE ADELSBERGER

V.                                  Case No. 4:21-cv-00471

UNION PACIFIC RAILROAD COMPANY
                                                             DEFENDANT


                    UNION PACIFIC RAILROAD COMPANY’S BRIEF
                      IN SUPPORT OF ITS MOTIONS IN LIMINE

       For the reasons outlined below, Plaintiffs Darel and Annette Adelsberger should be

prohibited from introducing evidence, and their counsel should be prohibited from arguing or

implying in questions to witnesses, matters related to the following:

       1.      Testimony, Photographs, and Evidence of Specific Instances of Flooding Prior
               to December 3, 2015.

       The Court recently granted Union Pacific’s motion for partial summary judgment and held

that Plaintiffs are precluded from seeking damages more than three years before they filed their

complaint (i.e., before December 3, 2015). Given the Court’s holding, Plaintiffs should also be

precluded from offering testimony and using evidence, such as photographs, related to specific

instances of flooding before December 3, 2015. In light of the Court’s partial summary judgment

order, any such testimony and evidence are now irrelevant. Fed. R. Evid. 401-402. Moreover,

allowing Plaintiffs to show the jury photos of the culvert being blocked or flooding to the

Adelsberger’s property before December 3, 2015 would confuse the issues, mislead the jury, and

constitute a waste of time. More importantly, any probative value the evidence or testimony might

have would be substantially outweighed by the danger of unfair prejudice. Fed. R. Evid. 401-403.




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Because Plaintiffs cannot recover for flooding caused by the culvert being blocked before

December 3, 2015, this evidence should not be admitted. Union Pacific’s motion should be granted.



   2. Damages Computations that Were Not Timely Produced.

       On the evening of June 13, 2022 – the court-ordered discovery deadline – Plaintiffs emailed

a “supplemental document disclosure.” See Exhibit 1, June 13, 2022 email. The supplemental

disclosure included hundreds of pages of documents that purportedly comprise Plaintiffs’ damages

computation. See Exhibit 2. Curiously, in the lower right-hand corner of each page (except for the

summary), it states, “Printed on: 7/19/2016.” In any event, these documents came with no

explanation, no description, and worse – no time to conduct discovery because Plaintiffs waited

until after 6:00 PM on the day of the discovery cutoff to produce them. See Exhibit 1. The Court’s

Final Scheduling Order provides that “[w]itnesses and exhibits not identified in response to

appropriate discovery may not be used at trial except in extraordinary circumstances.” See Ct. Doc.

9. Plaintiffs’ failure to comply with this directive and make timely disclosures has prejudiced

Union Pacific. Accordingly, the documents should be excluded.

       The purpose of discovery “is to narrow the issues, to eliminate surprise, and to achieve

substantial justice.” Greyhound Lines, Inc. v. Miller, 402 F.2d 134, 143 (8th Cir. 1968). As such,

Federal Rule of Civil Procedure 26(a)(1)(A)(iii) provides that parties must make initial disclosures,

including a computation of all types of damages, and must supplement their initial disclosures

when they learn of new information. If a party fails to timely disclose the required information,

the Court “has wide discretion to fashion a remedy or sanction as appropriate for the particular

circumstances of the case.” Wegener v. Johnson, 527 F.3d 687, 692 (8th Cir. 2008). The Court




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“may exclude the information or testimony as a self-executing sanction unless the party’s failure

to comply is substantially justified or harmless.” Fed. R. Civ. P. 37(c)(1); Wegener, 527 F.3d at 692.

       Here, Plaintiffs’ failure to comply with their discovery obligation is neither harmless nor

substantially justified. In addition to the initial disclosure requirements, Union Pacific specifically

requested that Plaintiffs produce all evidence supporting their claimed damages in its first set of

discovery and in notices of depositions to Plaintiffs. Exhibit 3, Def. First RFP to Pls. at pg. 8;

Exhibit 4, Dep. Notices. Plaintiffs served their discovery responses on March 3, 2022 and were

deposed, but they never produced the documents in question until it was too late – especially given

that they were “Printed on: 7/19/2016.” Accordingly, the documents should be excluded.



       3. Witnesses and Materials Not Timely Disclosed.

       Similar to the preceding motion, Plaintiffs should be prohibited from calling any witness

not timely disclosed in accordance with the Court’s Final Scheduling Order. Specifically, Plaintiffs’

pretrial disclosures include the names of several people that they never disclosed in response to

Union Pacific’s interrogatory number two, which asked Plaintiffs to “[i]dentify every person who

is expected to be called to testify at trial…”. See Exhibit 3, pages 1-2. Union Pacific does not know

the purpose for these witnesses or the subject of their desired testimony, and it has no time to

discover either before trial. For the reasons stated in motion no. 2 above, these witnesses should

be excluded.

       Likewise, Plaintiffs have continued to make belated supplements to their discovery

responses, including a supplement on August 22, 2022 – more than two months after the close of

discovery. Exhibit 5. That supplement included, among other things, Plaintiffs’ tax returns from

2019 and 2020. In its request for production of documents served on January 10, 2022, Union



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Pacific asked Plaintiffs to “[p]roduce all of Plaintiffs’ personal and business tax returns for

Plaintiffs from the date you purchased the property until the present date, including all supporting

documentation submitted to the IRS or to your accountant.” In their response to this discovery

request, dated May 14, 2022, Plaintiffs produced tax returns from 2011-2018 but no tax returns from

2019 or 2020. Those two returns were only produced two - and - a - half weeks ago. The Court

should not allow Plaintiffs to introduce or use anything untimely disclosed, including the 2019 and

2020 tax returns and the other documents produced on August 22, 2022, as it prejudices Union

Pacific.



       4. That Union Pacific Violated an Internal Policy or Rule.

       Plaintiffs should not be allowed to argue that Union Pacific violated an internal railroad

rule or use documents, such as UP-Adelsberger-000001-000010, to support such an argument.

Arkansas substantive law holds that internal guidelines and policies cannot form the basis of tort

liability and are inadmissible for that purpose. See, e.g., Bedell v. Williams, 2012 Ark. 75 (2012)

(affirming the principle that an internal rule of a business does not impose a legal duty); Young v.

Gastro-Intestinal Ctr., Inc., 361 Ark. 209, 215-216, 205 S.W.3d 741, 746 (2005) (holding that the

internal policies of an endoscopy center did not impose a legal duty to control a sedated patient to

prevent him from driving home); Kroger Co. v. Smith, 93 Ark. App. 270, 275, 218 S.W.3d 359,

363 (2005) (holding that the defendant’s internal policy for its clerks to assist customers did not

create a legal duty to assist the plaintiff in taking her groceries to the car); Arkansas & Louisiana

Gas Co. v. Stracener, 239 Ark. 1001, 395 S.W. 2d 745 (1965) (stating that a gas company rule that

required its employees to tag a gas meter after turning off the gas did not establish a standard of

care and should not have been included in a jury instruction); see also Weisker v. Harvest Mgt.



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Sub LLC, 2016 Ark App. 220, at 3, 489 S.W.3d 696, 698 (stating that a company’s internal policies

“do not translate into a duty at law”). Accordingly, Plaintiffs should be prohibited from arguing

that Union Pacific violated an internal rule.



       5.      Emails from Attorney Stan Rauls to Brandon Morris.

       In their pretrial disclosures, Plaintiffs have stated their intent to offer emails from their

former attorney, Stan Rauls, to Brandon Morris, a former Union Pacific employee. Union Pacific

objects to the introduction of these emails because they refer to events before December 3, 2015,

and the Court has already dismissed Plaintiffs’ claims for damages arising prior to that day.

Accordingly, the emails are irrelevant and would confuse the issues, be misleading to the jury, and

constitute a waste of time. Fed. R. Evid. 401-403.

       Furthermore, the emails are double hearsay and contain arguments from Plaintiffs’ former

counsel, Mr. Rauls. Fed. R. Evid. 801-802, 805. Plaintiffs cannot create evidence through their

own lawyer’s communications. These emails should be excluded.



       6.      Testimony about a Second Site Inspection.

       The Court should prohibit Plaintiffs, their witnesses, and their counsel from testifying or

referencing a request for a second site inspection for Dr. Overton and Union Pacific’s purported

refusal. Plaintiffs did not request a second inspection until after the expert disclosure deadline –

meaning that changes would have to be made to the Court’s Scheduling Order and the trial likely

delayed. Moreover, Plaintiffs were free to file a motion and request a site inspection, but they chose

not to do so. As such, they should not be permitted to bring up the belated request at trial. The




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danger of unfair prejudice to Union Pacific by such testimony substantially outweighs any

probative value. Fed. R. Evid. 401-403. Accordingly, Union Pacific’s motion should be granted.

        7.      Testimony about Lost Profits.

    The Court should prohibit Plaintiffs, their witnesses, and their counsel from testifying or

arguing that the Plaintiffs are entitled to lost profits. To recover lost profits, an established business

must prove with “reasonable certainty” that the profits would have been realized. Black v. Hogsett,

145 Ark. 178, 182, 224 S.W. 439, 440 (1920). Only the net loss is recoverable. Interstate Oil Supply

Co. v. Troutman Oil Co., 334 Ark. 1, 972 S.W.2d 941 (1998); Ishie v. Kelley, 302 Ark. 112, 114, 788

S.W.2d 225, 226 (1990). And, the net loss must be shown with reasonable certainty. Ishie v. Kelley,

302 Ark. 112, 114, 788 S.W.2d 225, 226 (1990). “Reasonable certainty” means that “a plaintiff must

present a reasonably complete set of figures and not leave the jury to speculate.” Id. “Proof of

damages has been found to be speculative when proof is based upon too many variables to make

an accurate projection, or they are based upon conjectural evidence or they are opinions of the

parties or witnesses.” Minyard v. Habbe, 2001 Ark. App. LEXIS 638, *10 (Sept. 19, 2001) (citing

to Interstate Oil Supply Co. v. Troutman Oil Co., 334 Ark. 1, 972 S.W.2d 941 (1998) and Orsini v.

Larry Moyer Trucking, Inc., 310 Ark. 179, 833 S.W.2d 366 (1992)). The jury cannot be left to engage

in speculation and conjecture about Plaintiffs’ alleged damages. Pennington v. Harvest Foods,

Inc., 326 Ark. 704, 934 S.W.2d 485 (1996).

        In this case, the only witnesses disclosed by the Plaintiffs who could testify about lost

profits are Darel and Annette Adelsberger. But Darel Adelsberger repeatedly disavowed such

knowledge during his deposition:

        Q.      Do you know why in 2016 the net profit of the business went from over $30,000
                down to just over $23,000 [in 2017]?

        A.      To answer your question, to give you a positive -- no, I can’t give you a positive.
                It can be a course of events. …We used to send a whole half a car to California for

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               $100, and now it’ll cost us $700. …I mean, there’s – there’s a lot of things that go
               into this. …Supply and demand. So it changes. It’s going to change. We -- our
               income is up and down like a yo-yo.

See Exhibit 6, p. 62-63.

       Q.      How does the stock market affect your business?

       A.      Your -- when the stock market is up, people are buying more new cars than they
               are used cars. When it’s down they buy -- they patch up what they got.

       Q.      And that increases your business?

       A.      Well, it depends. If they’ve got an old car, I don’t get -- it’s not $150 alternator,
               it’s a $25 alternator. It’s all relevant [sic].

       Q.      What’s better for your business, a stock market that’s high or one that’s low or one
               that’s in between?

       A.      One that’s low.

See Exhibit 6, p. 65.

       Q.      But AA Auto Salvage doesn’t sell cars that people just drive off, do you?

       A.      Yeah.

       Q.      How many?

       A.      I don’t know. Maybe sometimes 20 in a year and sometimes 10, sometimes five. I
               mean, when they start this nothing down, and people that have no credit at all can
               go down and buy a car at Fletcher, he has nine ways to finance a car. They can
               sleep on the freeway and not have a job and still buy a new car. All right. Well,
               they won’t be out at my place, because first of all, they’re going to have to pay cash
               for it.

       Q.      Right. That hurts your business?

       A.      Well, it slows it down.

See Exhibit 6, p. 66-67.

       Q.      What else could affect AA Auto Salvage and businesses like yours from one year
               to the next?

       A.      Employees.

       Q.      How so?


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       A.      You can’t hardly get anybody to work anymore.

See Exhibit 6, p. 69.

       Q.      Do you know what caused the drop between 2017 and 2018 going from $23,740 to
               $16,913?

       A.      Well, I guess since that’s all they talk about. They’re talking about Trump and his
               lying. You know, I don’t know. Trump.

       Q.      Do you think that’s what caused the difference?

       A.      I don’t know. That’s all you get on TV anymore, so just blame it on him.

See Exhibit 6, p. 70.

       Q.      If you were to tell me from 2016, 2017 and 2018, if you believe that you lost money
               because of the flooding on AA Auto property that was caused by the culvert being
               clogged up, how would you go about calculating how much the damages would be?

       A.      Well, I don't handle the books.

       Q.      Would that be more Ms. --

       A.      That would be Annette's deal. I wouldn't have any idea if they have 10,000 accounts
               receivable or 100,000. Okay. Now, I know I have one of the most desirable salvage
               yard locations that I know of, and I've been in this business and I'm 70. And I know
               the decrease in my property and my lack of income. It's just down to about the
               point that it's just not worth working anymore. Okay. Nothing to leave my son.

       Q.       But if I were going to ask for a number each year, I’d need to get that from Annette?

       A.      Yeah, you would. You started asking me why and how come. There's so many
               factors -- I'm neither a public accountant or a lawyer, so I -- I'm just working man.

       Q.      I understand. You wouldn't be able to provide me that information?

       A.      No.

See Exhibit 6, p. 79-80.

   Like her husband, the testimony of Annette Adelsberger makes clear that the jury would be

left to speculate or conjecture about lost profits because she admitted that she cannot say why the

net profits changed over the years. Ms. Adelsberger noted that there used to be a lot of small

salvage businesses like theirs but that have gone by the wayside because some really big salvage


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businesses have come onto the scene and taken a large share of the market. Exhibit 7, pages 87-

88. She admitted that it is hard to pinpoint why the business fluctuates and how the market works.

Exhibit 7, page 91. And, like her husband, Ms. Adelsberger did not know why the net profits of

AA Auto varied (sometimes substantially) from one year to the next:

       Q.      Well, let’s just say from 2015 where you made less than $10,000 to 2016 where
               you made over $30,000?

       A.      Yes, sir.

       Q.      Why do you think the net profit tripled between those two years?

       A.      I don’t know. I don’t know. It would only have to be in inventory. You know, the
               inventory, we were able to purchase some inventory, maybe we were actually able
               to crush one time. When you crush, then you -- you know, you get to boost your
               inventory up.

       Q.      Well, do you think -

       A.      But I don’t know.

       Q.      Do you think the standing water on the AA property was less in 2016 than 2015?

       A.      I don’t know that. I do not know that.

       Q.      And [you] wouldn’t have any record to prove it one way or the other?

       A.      No, sir.

       Q.      Then we see from 2016 where the net profit was a little over $30,000, [in] 2017 it’s
               a little under $24,000. Do you know what the cause was for the net profit to go
               down roughly $7,000 between those two years?

       A.      No, sir.

       Q.      Same question with 2017 to 2018, would you know what caused that net profit to
               go down?

       A.      No. Just sales in general and more outgo than income.

See Exhibit 7, p. 92-93.

       There is no identified witness who can testify with reasonable certainty – as required under

Arkansas law – to support a claim for lost profits. Plaintiffs cannot say why the net income has


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changed from year to year, and they acknowledge it is because there are too many variables.

Therefore, the Court should exclude any testimony about lost profits.

   Plaintiffs have submitted a jury instruction regarding lost profits. In addition, last week,

Plaintiffs sent Union Pacific a settlement proposal that was based upon a lost profit damage

calculation. See Exhibit 8. This was the first time that Union Pacific was provided any lost profit

calculation in this case and without any ability to determine how this calculation was created, who

created it, or any basis for the numbers. There was no damage calculation ever provided in the

Plaintiffs’ initial disclosures, in response to discovery requests, in response to the duces tecum to

the notice of Plaintiff’s depositions, or in any of the depositions. Accordingly, Plaintiffs should be

prohibited from having any witness testify about this alleged damage calculation. Further, this

calculation is improper under Arkansas law, as will be explained in Union Pacific’s Trial Brief.




                                               Respectfully submitted,

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